Case 2:O4-cr-20044-.]DB Document 22 Filed 07/06/05 Page 1 of 2 Pagel
AO 245 S (Rev. 4/90)(N.D.A|a. rev.) Sheet 1 - Judgment in a Crimina| Case

w BY n.o~
UN|TED STATES DlSTR|CT COURT _ ’ _ \6
Western District of Tennessee 05 JUl_ -6 Pl‘l h-
Tll_GlMS l.t GOU.D
ung§iir)msffmss oF ArviERch Wm O; vi MMS
vs. case Number 2;040R20044

JllVllVIY W. HART
Defendant.

JUDGMENT AND COMM|TMENT ORDER

ON SUPERVISED RELEASE VlOLAT|ON
(For Offenses Committed On or After November 1, 1987)

The defendant, Jimmy W. Hart, Was represented by Pat Brown, Esq.

lt appearing that the defendantl who Was convicted on December 12, 2001 , in the above styled cause and
was placed on Supervised Probation for a period of 4 years and has violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Probation of the defendant be revoked and
that the defendant be committed to Home Confinement for a term of ninety (90) days. The defendant is ordered
to bear the cost of Electronic lVlonitoring according to a schedule established by the Probation Office.

The defendant is further sentenced to a new term of 1 year Supervised Re|ease.

The defendant shall remain current With his child support paymentsl

The defendant shall participate in mental health counseling as directed by the probation office.

¢,‘*\
Signed this the day of July, 2005.

 

. Da iel Breen '
UN| D STATES DlSTR|CT ‘DGE

Thls document entered on the docke

t/jheet in compliance
for 32tb) FRCrP on

., V).,c`

@

Defendant's SS No.: XXX-XX-XXXX
Defendant's Date of Birth: 12/28/1964
U.S. lVlarshal No.: 22287-009
Defendant's Mai|ino Address: 4482 Oranoe Grove Drive. l\/lemphis, TN 38109

with Rule 55 and

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 22 in
case 2:04-CR-20044 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

J. Patten Brovvn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

